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                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF VIRGINIA
                             Lynchburg (Charlottesville) Division

In re:

         Chassie Priscilla Bright                                    Case No. 22-60472-RBC
                                                                     Chapter 13
                        Debtor(s)


                       NOTICE OF HEARING ON DEBTOR’S
               MOTION TO EXTEND SUSPENSIOIN OF PLAN PAYMENTS

YOU ARE HEREBY NOTIFIED that the Debtor, Chassie Priscilla Bright, by Counsel, John P.
Goetz, Esq. of John Goetz Law PLC, has filed a Motion to Extend Suspension of Plan Payments.

      Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this case. (If you do not have an attorney, you
may wish to consult one.)

        If you do not want the court to grant the relief sought in the Motion, or if you want the
court to consider your views on the Motion, then on or before November 9, 2023 you must file
with the court, at the address below, a written response pursuant to Local Rule 9013-1(M). If you
mail your response to the court for filing, you must mail it early enough for the court to receive it
on or before the date stated above.

                        Clerk of the Court
                        United States Bankruptcy Court
                        1101 Court St., Room 166
                        Lynchburg, VA 24504

         You may also mail a copy of your response to:

                        John Goetz Law, PLC
                        86 W. Shirley Avenue
                        Warrenton, VA 20186

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the Motion and may enter an Order granting that relief without the
need to hold a hearing. If you file a response and you wish to be heard, you must attend the
hearing to be scheduled on November 16, 2023 at 09:30 a.m. before Judge Connelly, to be held
via ZoomGov, by accessing the following URL: https://www.zoomgov.com/j/1603692643, or by
using Meeting ID 160 369 2643 when using the Zoom application.

Dated: 10/13/2023
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/s/ John P. Goetz
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Warrenton, VA 20186
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john@johngoetzlaw.com
Counsel for the Debtors

                               CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2023, a true copy of the foregoing Notice of Hearing
on Motion to Suspend Payments was served via the CM/ECF system, to Angela M. Scolforo,
Chapter 13 Trustee, to all creditors or parties in interest who have requested notice, and to the
Debtors.


                                                                   /s/ John P. Goetz
                                                                   John P. Goetz
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                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF VIRGINIA
                             Lynchburg (Charlottesville) Division

In re:

         Chassie Priscilla Bright                                  Case No. 22-60472-RBC
                                                                   Chapter 13
                        Debtor(s)


         MOTION TO EXTEND SUSPENSION OF CHAPTER 13 PLAN PAYMENTS

        Chassie Priscilla Bright, by counsel, moves to extend the suspension of her Chapter 13
plan payments two additional months, for the months of November and December 2023, and to
resume payments in January 2024, for a total suspension period of three months, with all
suspended payments to be cured by the cumulative amount of the missed payments divided
evenly over the remaining months of the plan and paid in addition to the regular payments, or, in
the alternative, extending her plan term, if possible, and in support states as follows:

    1. Debtor commenced this case with the filing of a voluntary petition on May 4, 2022.

    2. On November 21, 2022, this Court entered an order confirming Debtors’ Amended
       Chapter 13 Plan filed August 18, 2022. The Chapter 13 Plan required bi-weekly
       payments in the amount of $248.59 for 60 months, in addition to funds on hand of
       $538.56, for a total estimated base gross receipt of $32,855.76. The Chapter 13 Plan
       proposes a 100% disbursement to non-priority unsecured claims.

    3. On September 18, 2023, this Court suspended the Debtor’s monthly Plan payments for
       one month – October 2023 – due to an illness that did not allow the Debtor to work.

    4. Since the suspension was granted, the Debtor has suffered a physical injury that has
       increased the amount of time Debtor will not be able to work.

    5. Debtor requests an extension of the original one-month suspension, for the month of
       October, to a total three-month extension – for the months of October 2023 through
       December 2023 - to allow her to regain employment and to reestablish her financial
       position.

    6. Debtor intends to resume making payments in January 2024 and will submit orders that
       grants this motion, resolves the default created by the suspension, and will satisfy this
       Court, the Chapter 13 trustee, and all creditors.

      WHEREFORE, the Debtor moves this Court, pursuant to Bankruptcy Rule 9014, to enter
an Order extending the suspension of Debtor’s Chapter 13 plan payments, for the months of
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November and December 2023, for a total suspension period of three months, and to grant such
other and further relief as it deems just and appropriate.

                                        CHASSIE PRISCILLA BRIGHT
                                        By Counsel

/s/ John P. Goetz
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docs@johngoetzlaw.com
Counsel for the Debtor

                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 13, 2023, a true copy of the foregoing Motion was mailed
to or electronically served via electronic case filing to all relevant creditors and parties in interest
at their respective addresses as listed on the mailing matrix maintained by the clerk of the court
and to the Chapter 13 Trustee via electronic case filing.

                                                                /s/ John P. Goetz
                                                                John P. Goetz
